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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

FRED WATSON,                                  )
                                              )
      Plaintiff,                              )      Case No. 4:17-cv-2187 JCH
                                              )
v.                                            )
                                              )
EDDIE BOYD, et al.                            )
                                              )
       Defendants.                            )

  DEFENDANTS’ RESPONSE TO PLAINTIFF FRED WATSON’S STATEMENT OF
 ADDITIONAL MATERIAL FACTS IN SUPPORT OF PLAINTIFF’S OPPOSITION TO
           DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       COME NOW City of Ferguson and Officer Eddie Boyd (collectively, “Defendants”), by

and through their undersigned counsel, and for their Response to Plaintiff Fred Watson’s

(“Plaintiff”) Statement of Additional Uncontroverted Material Facts in Support of Plaintiff’s

Opposition to Defendant’s Motion for Summary Judgment (“PASUMF”) (Doc. #196-2), state as

follows:

       The Eighth Circuit recognized in Watson v. Boyd, 2 F.4th 1106, 1110 (8th Cir. 2021) that

“a district court cannot deny summary judgment merely by finding that genuine issues of fact exist;

those issues must also be material–that is, affecting the outcome of the suit under applicable law.”

Here, however, Plaintiff Freddie Watson ignores the Eighth Circuit’s directive and asserts

hundreds of additional facts that are wholly immaterial to the relief sought in Defendants’ Joint

Motion for Summary Judgment. Rather than tailor their PASUMF to Defendants’ newly filed

summary judgment pleadings, which focus on the issue of qualified immunity, Plaintiff simply

reused the PASUMF he filed in response to Defendants’ original summary judgment. Defendants

object to the submission of these additional claimed factual statements and request that the Court
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find them immaterial to the issues before the Court on Defendants’ current Joint Motion for

Summary Judgment.

       Additionally, Plaintiff has wholly ignored this Court’s Memorandum and Order on

Defendants’ original Joint Motion to Strike Plaintiff’s Summary Judgment Submissions, wherein

the Court struck from consideration certain statements and evidence in its entirety, including, but

not limited to (a) statements and evidence related to Officer Boyd’s purported misconduct after

August 2012 and (b) the DOJ Report. (Doc. #158 at pp. 7, 12). Defendants therefore object to the

submission of these additional claimed factual statements and evidence as the Memorandum and

Order constitutes the law of the case on these issues, and request that the Court deem them stricken

from the summary judgment record once again.

       Additionally, Defendants respond to each Statement in PASUMF as follows:

       1.      On August 1, 2012, Plaintiff Fred Watson was sitting in his vehicle at Forestwood

Park in Ferguson, Missouri after playing basketball. See Fred Watson Deposition (“Watson Dep.”)

83:8-84:1, attached as Exhibit 1.

       RESPONSE: Admit.

       2.      Mr. Watson was a Navy veteran who had lived for several years in Florida working

for the government. Id. at p. 26:16-27:5.

       RESPONSE: Admit. In further response, Defendants state that Plaintiff was
       ultimately discharged from the Navy in June, 2002 because of “a pattern of
       misconduct.” See Fred Watson Deposition (“Watson Dep.”) 308:22–309:7, attached
       hereto at Exhibit 6. Further, Defendants state that Plaintiff admitted that he had not
       resided in Florida since 2005, had been living in Illinois continuously since at least
       2009, and continued to live in Illinois at the time of the stop. See Watson Dep. 5:22-
       6:9; 17:20-19:14; 286:6-15, attached hereto as Exhibit 6; 12:18-13:3; 25:7–28:15;
       193:23-194:23; 455:1–456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       3.      In August of 2012, Mr. Watson was a government contractor with Top Secret

clearance who worked for the National Geospatial-Intelligence Agency. Id. at 38:23-39:5.



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       RESPONSE: Denied on the grounds that the cited pages from Plaintiff’s deposition
       does not support the Statement. In addition, Defendants state that Plaintiff was
       employed by NJVC, not the National Geo-Spatial Intelligence Agency. See Watson
       Dep. 50:17–51:18, 57:20–58:10; 262:24–263:15, attached to Defendants’ SUMF at Ex.
       2 (Doc. #187-2). In addition, this Statement is immaterial to whether Defendants are
       entitled to judgment in their favor as a matter of law.

       4.      The vehicle was running, the air conditioning was on, the driver’s side window was

halfway down. Id. at 83:13-21.

       RESPONSE: Defendants admit that the vehicle was running and the air conditioner
       was on but deny that the window was halfway down because Plaintiff admitted the
       window was “cracked, ” which he claimed meant that it was a fourth of the way down
       See Watson Dep. 457:4–458:9, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       5.      The vehicle was lawfully registered in Florida, where Mr. Watson had a driver’s

license and had established residence. Id. at p. 285:14-16; 367:18-368:2.

       RESPONSE: Defendants object to this Statement as an improper and inadmissible
       legal opinion by Plaintiff that the vehicle was “lawfully” registered in Florida and the
       implication that he had a valid Florida drivers’ license given Plaintiff’s admissions
       that he resides in Illinois, worked in St. Louis, and did not reside in the State of
       Florida. See Watson Dep. 25:24–28:15; 193:23-194:23; 455:1-456:4, attached to
       Defendants’ SUMF at Ex. 2 (Doc. #187-2). Further, Defendants state that Plaintiff
       admitted that he had not resided in Florida since 2005, had been living in Illinois
       continuously since at least 2009, and continued to live in Illinois at the time of the stop.
       See Watson Dep. 5:22-6:9; 12:18-13:3; 17:20-19:14, attached hereto as Exhibit 6;
       25:7–28:15; 193:23-194:23; 455:1–456:4, attached to Defendants’ SUMF at Ex. 2
       (Doc. #187-2).

       6.      Mr. Watson’s tint was legal in the state of Florida. Id. at 257:21-258:4.

       RESPONSE: Defendants object as an improper and inadmissible legal opinion by
       Plaintiff that the tint was legal in the State of Florida. In fact, Plaintiff told his
       attorney Bevis Schock that the reason he had tinted windows was so that police could
       not see into his car and Mr. Schock told Plaintiff his windows were in clear violation
       of Missouri law, that he could have been arrested for having them, and that he needed
       to take steps to correct that violation. See Deposition of Bevis Schock (“Schock Dep.”)
       62:4-65:3, attached to Defendants’ SUMF at Ex. 3 (Doc. #187-3); 79:10-12; 84:21-
       88:15, attached hereto at Exhibit 7. Plaintiff also testified that he did not know if the
       tint violated Missouri law and admitted that he worked in Missouri daily and parked
       the car in Missouri regularly. See Watson Dep. 257:21-259:12, attached hereto at
       Exhibit 6. Further, Defendants state that Plaintiff admitted that he had not resided
       in Florida since 2005, had been living in Illinois continuously since at least 2009, and



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       continued to live in Illinois at the time of the stop. See Watson Dep. 5:22-6:9; 12:18-
       13:3; 17:20-19:14, 286:6-15, attached hereto as Exhibit 6; 25:7–28:15; 193:23-194:23;
       455:1–456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       7.      Boyd claimed in his police report that there had been several break-ins by a black

vehicle with tinted windows. See Police Report, attached as Exhibit 3 at 2.

       RESPONSE: Defendants admit the allegations in this statement.

       8.      Defendants have produced no evidence of such break ins by a black vehicle with

tinted windows.

       RESPONSE: Denied. Plaintiff admits being provided with documents evidencing
       recent break-ins. See Plaintiff’s Response to Defendants’ Joint SUMF (Doc. #194) ¶2.

       9.      The windshield on Mr. Watson’s vehicle was not tinted. See Ex. 1, Watson Dep.

82:17-19.

       RESPONSE: Denied. See Eddie Boyd Deposition (“Boyd Dep.”) 148:25-149:2,
       attached hereto at Exhibit 8.

       10.     Boyd claimed in deposition that Mr. Watson’s windshield was tinted. See

Deposition of Eddie Boyd, Ex. 3, 148:25-149:2.

       RESPONSE: Admitted.

       11.     Boyd claimed that one factor for his seizure of Mr. Watson was that the car was

parked adjacent to a playground. Id at 26:23-25.

       RESPONSE: Defendants admit that the fact that Plaintiff was near a playground
       (which Officer Boyd also called an obstacle course) was one of many factors that
       caused Officer Boyd to investigative and inquire of Plaintiff. See Boyd Dep. 22:22–
       29:12, attached hereto at Exhibit 8; 194:19–195:4, attached to Defendants’ SUMF at
       Ex. 1 (Doc. #187-1).

       12.     While families were playing in the area, there was no playground in the immediate

vicinity of Mr. Watson’s vehicle. See Ex. 4, Declaration of Fred Watson, at PARA.

       RESPONSE: Defendants admit that families were playing in the area. Defendants
       deny that there was no playground in the immediate vicinity of Mr. Watson’s vehicle.



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        See Boyd Dep. 17:10–18:22, 26:23-25, attached to Defendants’ SUMF at Ex. 1 (Doc.
        #187-1).

        13.    Mr. Boyd claimed that one reason he seized Mr. Watson was because his vehicle

was backed in, which means that a person might be planning to do something illegal. See Ex. 1,

Watson Dep. 27:25-28:4.

        RESPONSE: Denied on the grounds that the cited pages do not support the
        Statement. Further answering, Defendants deny that Officer Boyd stated at any time
        that he “seized” Plaintiff. Officer Boyd testified that he considered several factors in
        deciding to stop Plaintiff, including the fact that the vehicle was backed in along the
        tree line, with heavily tinted windows, and no front license plate, which Plaintiff has
        admitted. See Boyd Dep. 26:14-28:25, attached to Defendants’ SUMF at Ex. 1 (Doc.
        #187-1). See also Watson Dep. 454:20 (“I do not have a front license plate.”), attached
        to Defendant’s SUMF at Ex. 2 (Doc. #187-2).

        14.    Ferguson Police Officer Eddie Boyd pulled his police vehicle directly in front of

Mr. Watson’s car, blocking him. See id. at 83:23-84:1.

        RESPONSE: Denied. See Boyd Dep. 18:23-19:13, attached to Defendants’ SUMF at
        Ex. 1 (Doc. #187-1). In addition, this Statement is immaterial to whether Defendants
        are entitled to judgment in their favor as a matter of law.

        15.    Boyd claimed that he did not block Watson in. See Ex. 3, Boyd Dep. 19:8-13.

        RESPONSE: Admit. In addition, this Statement is immaterial to whether
        Defendants are entitled to judgment in their favor as a matter of law.

        16.    Boyd’s police report claims that Watson was “enraged.” See Ex. 2, Police Report

at 3.

        RESPONSE: Defendants admit that the police report states, “Watson became
        enraged as I attempted to retrieve his pedigree information.”

        17.    Boyd got out of his police vehicle, and, while unsnapping the holster to his gun,

asked Mr. Watson, “Do you know why I stopped you, do you know why I pulled you over?” See

Ex. 1, Watson Dep. 84:3-7.

        RESPONSE: Denied. See Boyd Dep. 95:3-7, attached to Defendants’ SUMF at Ex. 1
        (Doc. #187-1); Defendant Eddie Boyd III’s Answer and Affirmative Defenses to



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       Plaintiff’s First Amended Complaint (“Boyd Answer”), ¶12 (Doc. #44). In addition,
       this Statement is immaterial to whether Defendants are entitled to judgment in their
       favor as a matter of law.

       18.    Mr. Watson told Defendant Boyd that Defendant Boyd had not pulled him over, as

Mr. Watson had been parked in that location for 10-15 minutes. See id. at 84:10-12.

       RESPONSE: Denied. See Boyd Answer, ¶12 (Doc. #44). In addition, this Statement
       is immaterial to whether Defendants are entitled to judgment in their favor as a
       matter of law.

       19.    Mr. Watson rolled his car window down further in order to speak with Defendant

Boyd. See id. at 84:19-21.

       RESPONSE: Admit.

       20.    Boyd admitted that he was able to see into Mr. Watson’s vehicle. See Ex. 3, Boyd

Dep. 53:16-19.

       RESPONSE: Denied. Boyd testified at the cited page only that he was able to see
       that Plaintiff’s seatbelt was not on. Further, Plaintiff testified that his window had
       been “cracked,” or about a quarter of the way down, when he was stopped and had
       rolled his window only “a little more” as Officer Boyd approached. See Watson Dep.
       84:13–17, 457:4–458:9, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       21.    Boyd demanded that Mr. Watson provide his social security number, which Mr.

Watson declined to provide. See Ex. 1, Watson Dep. 88:11-20.

       RESPONSE: Defendants admit that Officer Boyd may have requested Plaintiff’s
       social security number after Plaintiff failed to provide his driver’s license and
       insurance information and after Officer Boyd could not find anything in the REJIS
       System on “Fred Watson.” See Boyd Dep. 64:19-65:23, attached to Defendants’
       SUMF at Ex. 1 (Doc. #187-1). Defendants also admit that, if Officer Boyd requested
       Plaintiff’s social security number, Mr. Watson declined to provide it. Further,
       Defendants state that Plaintiff admitted that Officer Boyd initially asked for his
       driver’s license, insurance and social security number in his original Complaint and
       in notes he prepared shortly after the encounter. See Complaint (Doc. # 1) at ¶16;
       Watson Dep. 442:10-443:5; 463:5-465:18, Ex. 34 at WATSON_01617, attached hereto
       at Exhibit 6.




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       22.     Boyd proceeded to make a series of allegations justifying his request for

identification, including that Mr. Watson “could be a pedophile.” Id. 88:23-89:1.

       RESPONSE: Denied. See Boyd Answer ¶17 (Doc. #44). In addition, this Statement
       is immaterial to whether Defendants are entitled to judgment in their favor as a
       matter of law.

       23.     Boyd was yelling at Mr. Watson, but Mr. Watson kept his hands on the steering

wheel. Id. at 104:13-18.

       RESPONSE: Denied. Plaintiff admitted that he did not keep his hands on the steering
       wheel, but attempted to grab his telephone and that Officer Boyd directed Plaintiff to
       put his phone down for safety reasons. See Watson Dep. 104:12-106:21, attached to
       Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       24.     Only after several statements did Boyd attempt to justify his seizure of Mr. Watson

by stating that Mr. Watson could be cited for having tinted windows. See id. at 93:21-22.

       RESPONSE: Defendants admit that Officer Boyd advised Plaintiff that he could and
       would be cited for illegally tinted windows. However, Defendants deny the remaining
       statements in this paragraph are speculation and not supported by the cited pages for
       Plaintiff’s deposition. In addition, this Statement is immaterial to whether Defendants
       are entitled to judgment in their favor as a matter of law.

       25.     Boyd then asked Mr. Watson for his name, and Boyd admits that he did not ask Mr.

Watson for his full name. See Ex. 1, Watson 97:17-19; Ex. 3, Boyd Dep. 222:1-5.

       RESPONSE: Defendants admit that Officer Boyd asked Plaintiff for his name and
       address and that rather than providing his legal name (“Freddie Watson”) to Officer
       Boyd in response, Plaintiff provided Officer Boyd with his non-legal name (“Fred
       Watson”), a name Plaintiff knew would not come up in the system. See Watson Dep.
       101:3-102:6, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2). Plaintiff also
       provided Officer Boyd with a false Florida address when Plaintiff did not reside in
       the State of Florida. See Watson Dep. 194:12-23; 455:1-456:4, attached to Defendants’
       SUMF at Ex. 2 (Doc. #187-2). Further, Defendants state that Plaintiff admitted that
       he had not resided in Florida since 2005, had been living in Illinois continuously since
       at least 2009, and continued to live in Illinois at the time of the stop. See Watson Dep.
       5:22-6:9; 12:18-13:3; 17:20-19:14, 286:6-15, attached hereto as Exhibit 6; 25:7–28:15;
       193:23-194:23; 455:1–456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).




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       26.     Mr. Watson stated that his name was “Fred Watson.” See Ex. 1, Watson Dep.

97:20-22; Ex. 3, Boyd Dep. 60:16-24.

       RESPONSE: Admit.

       27.     When Mr. Watson told Boyd his name, he was not willfully attempting to conceal

his identity. See Declaration of Fred Watson, Ex. 4.

       RESPONSE: Denied. Plaintiff was fully aware that “Fred Watson” was not his legal
       name, was not the name on his Florida issued driver’s license, and that nothing would
       come up in the system under “Fred Watson.” See Watson Dep. 101:3-102:6, attached
       to Defendants’ SUMF at Ex. 2 (Doc. #187-2). Additionally, Plaintiff admitted that he
       understood Officer Boyd was trying to run the name “Fred Watson” and could not
       find it, explaining, “I know I said before he tried to run my name, I believe it was
       twice he tried to run the name so he . . . finds my registration and it’s not Fred, it’s
       Freddie . . .” See Watson Dep. 121:25–122:7; 127:10–19, attached to Defendants’
       SUMF at Ex. 2 (Doc. #187-2). In addition, this Statement, including what was
       Plaintiff’s subjective intent, is immaterial to whether Officer Boyd had reasonable
       suspicion or probable cause or Defendants are entitled to judgment in their favor as
       a matter of law.

       28.     Mr. Watson also gave Mr. Boyd the address listed on his Florida drivers’ license.

See Ex. 1, Watson Dep. 194:10-11.

       RESPONSE: Admit that Plaintiff provided Officer Boyd with a false Florida address
       when Plaintiff admittedly did not reside in the State of Florida. See Watson Dep.
       194:12-23; 455:1-456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2). Any
       Florida driver’s license held by Plaintiff was invalid under Illinois and Missouri law.
       Further, Defendants state that Plaintiff admitted that he had not resided in Florida
       since 2005, had been living in Illinois continuously since at least 2009, and continued
       to live in Illinois at the time of the stop. See Watson Dep. 5:22-6:9; 12:18-13:3; 17:20-
       19:14, 286:6-15, attached hereto as Exhibit 6; 25:7–28:15; 193:23-194:23; 455:1–
       456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       29.     Boyd’s police report also states that Mr. Watson provided his name and Florida

address. See Police Report, Ex. 2 at 3.

       RESPONSE: Defendants admit that Officer Boyd’s police report properly
       documents the fact that Plaintiff provided Officer Boyd with his non-legal name of
       “Fred Watson” and the false Florida address. See also Watson Dep. 101:3-102:6;
       194:12-23; 455:1-456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).
       Further, Defendants state that Plaintiff admitted that he had not resided in Florida



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       since 2005, had been living in Illinois continuously since at least 2009, and continued
       to live in Illinois at the time of the stop. See Watson Dep. 5:22-6:9; 12:18-13:3; 17:20-
       19:14, 286:6-15, attached hereto as Exhibit 6; 25:7–28:15; 193:23-194:23; 455:1–
       456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

       30.     Mr. Watson asked Mr. Boyd for his name and badge number, which Boyd refused

to provide. See Ex. 1, Watson Dep. 98:13-15; 198:1-8.

       RESPONSE: Denied. See Boyd Answer ¶¶21–22 (Doc. #44). In addition, this
       Statement is immaterial to whether Defendants are entitled to judgment in their favor
       as a matter of law.

       31.     Boyd told Mr. Watson that the information would be on his tickets. See id. at

133:14-16.

       RESPONSE: Denied. See Boyd Answer ¶22 (Doc. #44). In addition, this Statement
       is immaterial to whether Defendants are entitled to judgment in their favor as a
       matter of law.

       32.     Mr. Watson testified that because of this harassment, he attempted to call the police.

See id. at. 104:13-22.

       RESPONSE: Denied. While Plaintiff testified here that he wanted to call the police,
       he did not testify that it was “because of this harassment.” In addition, this Statement
       is immaterial to whether Defendants are entitled to judgment in their favor as a
       matter of law.

       33.     To reach his phone, Mr. Watson moved his hand from the top of the steering wheel

to the console above the radio. See id. at. 106:17-21.

       RESPONSE: Defendants admit that this testimony establishes that Plaintiff suddenly
       moved his hands off the steering wheel and picked up his phone.

       34.     Mr. Boyd called in a complaint on Mr. Watson. Id. at 109:9-18.

       RESPONSE: Denied. Officer Boyd testified he called for backup after Plaintiff’s
       repeated refusals to comply with his directives. See Boyd Dep. 79:4-18, hereto as
       Exhibit 8; Watson Dep. 109:19–23, attached to Defendants’ SUMF at Ex. 2 (Doc.
       #187-2).




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        35.     Officer Boyd commanded Watson to put the phone down, preventing Mr. Watson

 from notifying the police about his harassment. See id. at 105:23-107:6.

        RESPONSE: Defendants admit that because of safety concerns, Officer Boyd
        commanded Plaintiff to put his phone down. See Watson Dep. 104:12-106:21,
        attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

        36.     Mr. Watson testified that when he was seized by Mr. Boyd, there was “still a lot of

 daylight out.” Id. at 347:1-4.

        RESPONSE: Defendants admit that Plaintiff testified as to this statement, but deny
        its truthfulness. Plaintiff testified that he believed he was stopped “around 6. It
        wasn’t late in the evening, still a lot of daylight out.” See Watson Dep. 346:19–25. See
        also Defendants’ response to 45-46, infra. Further answering, Defendants deny that
        Plaintiff testified that Officer Boyd “seized” him.

        37.     Defendant Boyd testified that he directed Mr. Watson to put the phone down

 because he believed Mr. Watson was going to call someone to ambush him, See Ex. 3, Boyd Dep.

 204:12-19.

        RESPONSE: Defendants admit that because of safety concerns, Officer Boyd
        commanded Plaintiff to put his phone down (see Watson Dep. 104:12-106:21,
        attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2)) and that one of those concerns
        was that Plaintiff could call someone to ambush him. Indeed Plaintiff admitted that
        Officer Boyd told him to put his phone down for safety reasons. (See Watson Dep.
        104:13-106:21, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).

        38.     Mr. Watson returned his phone to the dashboard. See Ex. 1, Watson Dep. 110:16.

        RESPONSE: Admitted. See Watson Dep. 104:12-106:13, attached to Defendants’
        SUMF at Ex. 2 (Doc. #187-2).

        39.     Mr. Boyd pulled his gun on Mr. Watson and pointed it at his head. See Ex. 1,

 Watson Dep. 110:10-111:3; 347:17-348:4.

        RESPONSE: Denied. See Boyd Dep. 95:3-7, attached to Defendants’ SUMF at Ex. 1
        (Doc. #187-1). Further responding, Defendants state that Plaintiff admitted in his
        deposition that Officer Boyd pulled out his gun and pointed it at Plaintiff for “ten
        seconds or so” and then re-holstered the gun. See Watson Dep. 200:1–25; 347:17–
        348:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2).




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           40.    Boyd claims that he did not draw his weapon on Mr. Watson. See Ex. 3, Boyd Dep.

 95:3-7.

           RESPONSE: Admit.

           41.    Defendant Boyd said to Mr. Watson that Boyd could shoot Watson and nobody

 would “give a damn.” See Ex. 1, Watson Dep. 110:22-111:2.

           RESPONSE: Denied. This testimony conflicts with the allegations in Paragraph 26
           of Plaintiff’s Amended Complaint (Doc. # 35). See also Boyd Answer ¶26 (Doc. #44).
           This statement also conflicts with the notes that Plaintiff prepared immediately after
           the encounter, which do not reflect that Officer Boyd ever pulled a gun or made such
           a statement. See Watson Dep. 442:10-443:7, Ex. 34, attached hereto at Exhibit 6.

           42.    Mr. Watson testified that Boyd then ordered Watson to throw his keys out of his

 car and to produce his driver’s license and registration. See id. at 111:17-25.

           RESPONSE: Defendants admit that Officer Boyd requested Plaintiff to provide his
           driver’s license and proof of insurance and ultimately to throw his keys out of the car,
           and Plaintiff failed to comply with these requests. See Watson Dep. 108:2–15,
           attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2). See also Defendants’ response
           to ¶21, supra.

           43.    Mr. Watson’s vehicle started remotely, and his keys were in the backseat of his car.

 Id. at 103:11-24; 126:10-11.

           RESPONSE: Defendants admit that Plaintiff has testified that his vehicle started
           remotely and that his keys were in his pants pocket. In addition, this Statement is
           immaterial to whether Defendants are entitled to judgment in their favor as a matter
           of law.

           44.    Mr. Watson, with his hands on the steering wheel, stated that all of those items were

 out of his immediate reach, and because Mr. Watson feared for his life, he did not reach for those

 items. See id. at 114:21-115:3.

           RESPONSE: Denied. Plaintiff admitted that he did not throw his keys out of the car
           and did not provide any reason to Officer Boyd for failing to comply with the directive
           to throw out his keys. See Watson Dep. 108:2-15, attached to Defendants’ SUMF at
           Ex. 2 (Doc. #187-2). See also Watson Dep. 474:5–17, 476:22–477:5, attached hereto
           as Exhibit 6.



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        45.     Backup officers from the Ferguson Police Department eventually arrived at

 approximately 8:18. See Ex. 3, Boyd Dep. 107:1-11.

        RESPONSE: Admit.

        46.     Ferguson records indicate that the officers arrived at 8:18 p.m. See Exhibit 5 at 1.

        RESPONSE: Defendants object to this statement on the grounds that Exhibit 5 lacks
        proper authentication and, therefore it is inadmissible.

        Subject to and without waiving this objection, Defendants admit the document
        indicates backup arrived at 8:18 p.m. In addition, this Statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law.

        47.     The officers conferred within earshot of Mr. Watson. See Ex. 1, Watson Dep.

 118:7-119:4.

        RESPONSE: Admit that the officers conferred within earshot of Mr. Watson, but
        deny the contents of the evidence cited. In addition, this Statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law.

        48.     Boyd’s police report states that he instructed Watson to get out of his vehicle five

 times once backup officers arrived. See Ex. 2, Police Report at 3.

        RESPONSE: Denied. The police report states that Officer Boyd instructed Plaintiff
        to get out of his vehicle five times, but does not state that it was “once backup officers
        arrived.” Officer Boyd ordered Plaintiff to exit the vehicle both before and after
        backup officers arrived. See Boyd Dep. 55:15–56:5, 68:20–69:7, attached to
        Defendants’ SUMF at Ex. 1 (Doc. #187-1); Amended Complaint ¶¶20–21, 28–29 (Doc.
        #35). Officer Boyd also ordered Plaintiff to throw his keys out of the car, which order
        Plaintiff refused. See Defendants response to 44, supra.

        49.     Boyd stated that he wanted to get the police dog to go into Mr. Watson’s car. See

 Ex. 1, Watson Dep. 118;18-25.

        RESPONSE: Denied. See Boyd Answer ¶31 (Doc. #44). See also Gregory Casem
        Deposition (“Casem Dep.”) 28:7–22, attached hereto as Exhibit 9; Deposition of Todd
        Mink (“Mink Dep.”) 65:5–9, attached hereto at Exhibit 10. In addition, this Statement
        is immaterial to whether Defendants are entitled to judgment in their favor as a
        matter of law.




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        50.     An officer approached Mr. Watson and told him that he needed to do whatever

 Boyd instructed him to do. He further said that he didn’t want to have to let the dog out to “tear

 [Mr. Watson’s] shit out.” Id. at 116:25-117:4.

        RESPONSE: Denied. See Boyd Answer ¶31 (Doc. #44). See also Casem Dep. 28:7–
        22, attached hereto as Exhibit 9; Mink Dep. 65:5–9, attached hereto at Exhibit 10. In
        addition, this Statement is immaterial to whether Defendants are entitled to judgment
        in their favor as a matter of law.

        51.     Mr. Watson told the officer that he did not give permission for his vehicle to be

 searched. Id. at 121:12-16.

        RESPONSE: Denied. See Boyd Answer ¶33 (Doc. #44). Further, neither of the
        backup officers who arrived on the scene remember the incident. See Casem Dep.
        12:16–13:3, attached hereto as Exhibit 9; Mink Dep. 22:1–12, attached hereto at
        Exhibit 10. In addition, this Statement is immaterial to whether Defendants are
        entitled to judgment in their favor as a matter of law.

        52.     No longer fearful for his life, and without making any sudden moves, Mr. Watson

 has testified that when Boyd instructed him to get out of the vehicle, he complied. See id. at 120:6-

 9.

        RESPONSE: Denied. Plaintiff did not state in the cited deposition pages that he
        finally exited the vehicle because he no longer feared for his safety. Plaintiff
        repeatedly refused to exit the vehicle and refused Officer Boyd’s orders to throw his
        keys out of the vehicle without explanation. See Defendants’ responses to 44, 48, supra.
        See also Plaintiff’s Response to Defendants’ Joint SUMF ¶¶20, 21 (Doc. #194),
        admitting that he did not throw his keys out of the car and did not exit the vehicle
        despite Officer Boyd’s demand. Further answering, Plaintiff’s subjective reason for
        refusing to exit the vehicle and finally deciding to exit the vehicle are immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law.

        53.     When Mr. Watson exited the vehicle, he closed the door with his foot because he

 did not want the police to search his vehicle. See id. at 120:15-121:5.

        RESPONSE: Defendants admit that Plaintiff closed the door with his foot, which
        Officer Boyd interpreted as an effort to conceal something. See Boyd Dep. 212:8-12,
        attached to Defendants’ SUMF at Ex. 1 (Doc. #187-1). Further answering, Plaintiff’s
        unexpressed, subjective reason for closing the door is immaterial to whether
        Defendants are entitled to judgment in their favor as a matter of law.



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        54.     Boyd’s police report claims that he conducted a search incident to arrest. See

 Exhibit 2, Police Report at 3.

        RESPONSE: Admit.

        55.     Boyd handcuffed Watson, squeezing the cuffs to cause pain, and placed in the back

 of Boyd’s police car. See Ex. 1, Watson Dep. 121:23-24; Ex. 4, Declaration of Fred Watson at ¶

 4.

        RESPONSE: Defendants object as speculation the statement that Officer Boyd put
        the cuffs on to cause pain. Defendants further object because this statement is not
        material since Plaintiff suit is not based on any unpleaded claim of excessive force
        regarding his cuffing.

        56.     Ferguson General Order 408.08 states that officers should only make arrests

 without warrants when “There is an immediate need for the prevention of a crime, protection of

 persons or apprehension of a suspect.” See Ex. 85, General Order 408, at 3.

        RESPONSE: Defendants object to this statement on the grounds that Exhibit 85 lacks
        proper authentication and, therefore it is inadmissible.

        Subject to and without waiving this objection, Defendants state that Plaintiff has
        quoted an excerpt of the general order. Further responding, this statement is
        immaterial to whether Defendants are entitled to judgment in their favor as a matter
        of law.

        57.     Ferguson’s records produced in this case include documentation of a REJIS search

 run on the night of Mr. Watson’s arrest that identified Mr. Watson, his Illinois address, his Florida

 residency, and the lawful registration and insurance of his vehicle. See Ex. 6, REJIS search at 1-2.

        RESPONSE: Defendants object to this statement on the grounds that Exhibit 6 lacks
        proper authentication and, therefore it is inadmissible. Defendants further object on
        the grounds that Exhibit 6 constitutes hearsay and relies upon hearsay. Defendants
        further object on the grounds that this statement contains legal conclusions, including
        the allegations that Plaintiff was had a “Florida residency” or that he had “lawful
        registration” for his vehicle in Florida. Plaintiff has admitted that he resided in
        Illinois and has never “lived” in the state of Florida. See Watson Dep. 194:12-23;
        455:1-456:4, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2). Further, the



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        document cited does not indicate that Plaintiff’s Florida driver’s license was valid,
        that he properly surrendered his expired Missouri driver’s license, that his vehicle
        registration was lawful, or that his insurance was valid. Nor does the document list
        an “Illinois address,” but rather includes a post office box. Nevertheless, the fact that
        Plaintiff now claims he has an “Illinois address” is further evidence that he was not a
        Florida resident (and knew as much) in 2012. Further, Defendants state that Plaintiff
        admitted that he had not resided in Florida since 2005, had been living in Illinois
        continuously since at least 2009, and continued to live in Illinois at the time of the stop.
        See Watson Dep. 5:22-6:9; 12:18-13:3; 17:20-19:14, 286:6-15, attached hereto as
        Exhibit 6; 25:7–28:15; 193:23-194:23; 455:1–456:4, attached to Defendants’ SUMF at
        Ex. 2 (Doc. #187-2).

        Further, a REJIS Report for Missouri’s Department of Revenue records run on the
        night of Mr. Watson’s arrest indicates that Mr. Watson’s Missouri license was “valid
        expired” and had not been surrendered to another state. See Boyd Dep. at 112:20–
        25, 117:16–121:2, Ex. 3 at FERG-WAT 00268, attached to Defendants’ SUMF at Ex.
        2 (Doc. #187-1). Officer Boyd testified that he believed that based on this REJIS
        information, Plaintiff was a resident of Missouri. See Boyd Dep. 164:7–13, attached
        to Defendants’ SUMF at Ex. 1 (Doc. #187-1).

        58.    Boyd admitted that on the day he detained and arrested Mr. Watson, he had access

 to the REJIS system. See Ex. 3, Boyd Dep. 113:17-19.

        RESPONSE: Admit.

        59.    Mr. Watson testified that the reason the name “Fred Watson” would not come up

 in the REJIS computer system was that he had never had any prior tickets or law enforcement

 infractions. See Ex. 1, Watson Dep. 101:9-1F8.

        RESPONSE: Denied, as this statement fails to provide the full context of Plaintiff’s
        testimony. Plaintiff went on to answer the following: “Q. . . . So you’re saying though
        that you understood that Fred Watson wouldn’t come up because you didn’t have a
        license under the name of Fred Watson and you didn’t have any traffic tickets, right?
        A. Yes.” See Watson Dep. 102:1–6, attached to Defendants’ SUMF at Ex. 2 (Doc.
        #187-2).

        60.    Mr. Watson testified that Boyd opened the door of Mr. Watson’s car. See id. at.

 123:8-10.

        RESPONSE: Admit.




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        61.      Mr. Watson testified that after Boyd opened the door, he had a discussion with the

 other officers at the scene. See id. at. 123:11-14.

        RESPONSE: Admit.

        62.      The two other Ferguson officers stuck their heads in the car but did not search

 anything. See id. at 124:16-19.

        RESPONSE: Admit.

        63.      Boyd then opened the passenger side door. See id. at 124: 8-15.

        RESPONSE: Admit.

        64.      Boyd then entered Mr. Watson’s car on the passenger side, where he dumped the

 contents of Mr. Watson’s bookbag in the back seat and threw his jeans into the front seat. See id.

 at 124:20-125:6.

        RESPONSE: Admit that Watson testified that Officer Boyd entered his car and
        searched his bookbag. Defendants further admit that Officer Boyd searched the
        vehicle as a search incident to arrest, in an attempt to attempt to discover Plaintiff’s
        real identity and because of the suspicious actions of Plaintiff in closing the door with
        his foot. See Boyd Dep. 169:19-170:25; 178:23-179:20; 212:8–213:3, Ex. 5 at
        Watson_00042, attached to Defendants’ SUMF at Ex. 1 (Doc. #187-1).

        65.      Boyd also opened Mr. Watson’s glove compartment, where Mr. Watson’s car

 registration was present. See id. at 113:20-23; 125:5.

        RESPONSE: Admit that Plaintiff testified that Officer Boyd opened Plaintiff’s glove
        compartment and separately testified that he kept his registration in his glove
        compartment. Defendants further admit that Officer Boyd searched the vehicle as a
        search incident to arrest, in an attempt to attempt to discover Plaintiff’s real identity
        and because of the suspicious actions of Plaintiff in closing the door with his foot. See
        Boyd Dep. 169:19-170:25; 178:23-179:20; 212:8–213:3, Ex. 5 at Watson_00042,
        attached to Defendants’ SUMF at Ex. 1 (Doc. #187-1).

        66.      Boyd then returned to his vehicle with Mr. Watson’s Florida registration, and told

 Mr. Watson that he now understood that Mr. Watson’s legal name was Freddie, not Fred. See id.

 at 127:12-25.



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        RESPONSE: Admit. Plaintiff further admitted in the cited testimony that he
        understood Officer Boyd was trying to run the name “Fred Watson” and could not
        find it, explaining, “I know I said before he tried to run my name, I believe it was
        twice he tried to run the name so he . . . finds my registration and it’s not Fred, it’s
        Freddie . . .” See Watson Dep. 122:1–7; 127:12–19, attached to Defendants’ SUMF
        at Ex. 1 (Doc. #187-1).

        67.     Mr. Watson stated that he commonly went by “Fred,” although his legal name is

 Freddie.. Id. at 262:12-14.

        RESPONSE: Denied. This Statement is not supported by the cited testimony.
        Further answering, see Defendants’ response to 25, supra.

        68.     Mr. Watson’s Florida driver’s license and his registration were visible in the car.

 See id. at 143:1-3.

        RESPONSE: Denied. Plaintiff testified that when he entered his car on August 2,
        2012, after his car had been towed, he viewed his driver’s license on the floor and
        pointed out his registration. However, credit union records reveal that Plaintiff used
        his driver’s license to make a $2,100 cash withdrawal from his credit union the
        morning of August 2, 2012, the day after his arrest and shortly before he went to pick
        up his vehicle where the driver’s license was purportedly located. See Deposition
        Transcript of Ayse Alexander 14:3–15:12; 16:5–12, attached hereto as Exhibit 11.
        Further responding, this statement is immaterial to whether Defendants are entitled
        to judgment in their favor as a matter of law.

        69.     Mr. Watson also found some money in the console of his vehicle, but not as much

 money as before he was arrested. See id. at 143:11-17.

        RESPONSE: Denied. Although Plaintiff originally alleged that there was $2,000
        missing from his vehicle (see Complaint ¶53 (Doc. #1)), Plaintiff has withdrawn and
        abandoned that allegation in his Amended Complaint. See Amended Complaint ¶53
        (Doc. #35). Plaintiff also admitted that he cannot say that Officer Boyd took any
        money from his vehicle and acknowledged that his door may have been unlocked
        when he retrieved his vehicle at the impound. See Watson Dep. 141:8–142:3, attached
        to Defendants’ SUMF at Ex. 2 (Doc. #187-2); see also Watson Dep. 147:19–25, 149:5–
        7, attached hereto as Exhibit 6. Further responding, this statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law.

        70.     Mr. Watson then went to the Ferguson Police Department to try to file a complaint,

 where he was told that he was not able to make a complaint. See id. at 149:15-150:3.




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        RESPONSE: Denied. Plaintiff testified that he went to Ferguson to make a complaint,
        and that he “wanted to talk to the chief.” Plaintiff testified that he was advised that
        the Chief was not there and available to take his complaint, and that he did not feel
        comfortable talking to anyone else. Plaintiff further testified that he never notified
        the City that he believed he was missing money. See Watson Dep. at 149:15–150:10,
        150:25–152:4, attached hereto as Exhibit 6. Further responding, this statement is
        immaterial to whether Defendants are entitled to judgment in their favor as a matter
        of law.

        71.    Mr. Watson later attempted to again file a complaint at the Ferguson Police

 Department and was not allowed. See id. at 150:17-21.

        RESPONSE: Denied. Plaintiff testified that he only felt comfortable making his
        complaint to the Chief and the Chief was unavailable to speak to him. See Watson
        Dep. 150:11–24, attached hereto as Exhibit 6. Further responding, this statement is
        immaterial to whether Defendants are entitled to judgment in their favor as a matter
        of law.

        72.    A tow form completed by Boyd after the arrest represented that Watson’s vehicle

 had a Florida license plate. See Exhibit 7, Incident Tow Form.

        RESPONSE: Defendants object to this statement on the grounds that Exhibit 8 lacks
        proper authentication and, therefore it is inadmissible.

        Subject to and without waiving this objection, admitted.

        73.    At deposition, Boyd stated that an officer can search any person’s vehicle upon

 arresting him or her. See Ex. 3, Boyd Dep. 169:19-22.

        RESPONSE: Denied, as this statement fails to provide the full context of Officer
        Boyd’s testimony in which was describing a search incident to arrest. Further
        responding, this statement is immaterial to whether Defendants are entitled to
        judgment in their favor as a matter of law.

        74.    A close relative of Mr. Watson’s was with him when he retrieved his vehicle, and

 said that everything inside it appeared to have been “thrown all around.” Ex. 8, Robin Daniels

 Dep. 11:22-12:3.

        RESPONSE: Admit that this statement reflects Ms. Daniels’ testimony. However,
        this statement is immaterial to whether Defendants are entitled to judgment in their
        favor as a matter of law.



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         75.     When Mr. Watson was released, he was given seven municipal tickets from the

 City of Ferguson. See Ex. 1, Watson Dep. 155:21-22.

         RESPONSE: Defendants admit that Plaintiff was handed seven tickets when he was
         bonded out. Defendants further admit that all nine of the citations issued to Plaintiff
         were listed on the bond form he was provided. See Watson Dep. 215:7–23, Ex. 7,
         attached hereto as Exhibit 6.

         76.     A scrawled signature is illegible in the “Officer” entry of each of the tickets Mr.

 Watson received. See Ex. 9, Watson Tickets

         RESPONSE: Defendants admit that Officer Boyd’s signature is in the “Officer”
         entry of each of the tickets. However, this statement is immaterial to whether
         Defendants are entitled to judgment in their favor as a matter of law.

         77.     For six of the seven tickets, the “Badge” entry is blank on Mr. Watson’s yellow

 copy of carbon-copy tickets. Id.

         RESPONSE: Admitted. However, this statement is immaterial to whether
         Defendants are entitled to judgment in their favor as a matter of law.

         78.     For one ticket, the entry next to the badge number appears to have been scribbled

 out. See Id. at 6.

         RESPONSE: Admitted. However, this statement is immaterial to whether
         Defendants are entitled to judgment in their favor as a matter of law.

         79.     On the white Ferguson copies of the tickets, Boyd’s badge number is clearly legible.

 See Ex. 10, Ferguson tickets.

         RESPONSE: Admitted. However, this statement is immaterial to whether
         Defendants are entitled to judgment in their favor as a matter of law.

         80.     Officer Boyd listed the following violations on Mr. Watson’s tickets:

         a.      “No operators license in possession”

         b.      “No proof of insurance”

         c.      “Vision reducing material applied to windshield”



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        d.      “Expired state operators license”

        e.      “No seat belt”

        f.      “Failure to register an out of state mot-veh within 30 days of residence”

        g.      “No vehicle inspection”

        See Ex. 9,Watson Tickets.

        RESPONSE: Admitted.

        81.     Even though Boyd had a device that measured the tint on windows, there is no

 record that Boyd used that device to measure whether Mr. Watson’s windows or windshield were

 tinted. See Ex. 3, Boyd Dep. 150:1-18.

        RESPONSE: Admitted. Further answering, Officer Boyd testified that he viewed the
        tint, which had been applied to the windshield, which is why he wrote Plaintiff a
        citation for “vision reducing material applied to windshield. Boyd Dep. 148:5–149:25,
        attached hereto as Exhibit 8. Plaintiff admitted that he had tinted windows. See
        Watson Dep. 82:11–13, attached to Defendants’ SUMF as Ex. 2 (Doc. #187-2) (“I have
        tinted windows.”). Further, Plaintiff’s attorney, Bevis Schock, told Plaintiff his
        windows were in clear violation of Missouri law, that he could have been arrested for
        having them, and that he needed to take steps to correct that violation. See Schock
        Dep. 62:4-65:3, attached to Defendants’ SUMF as Ex. 3 (Doc. #187-3); 79:10-12,
        84:21-88:15, attached hereto at Exhibit 7. Plaintiff also testified that he did not know
        if the tint violated Missouri law and admitted that he worked in Missouri daily and
        parked the car in Missouri regularly. See Watson Dep. 257:21-259:12, attached
        hereto at Exhibit 6. Further responding, this statement is immaterial to whether
        Defendants are entitled to judgment in their favor as a matter of law.

        82.     Months later, Mr. Watson would learn that he was charged with two other offenses,

 one for a false report/false statement, and another for failing to obey the orders of an officer. See

 Ex. 1, Watson Dep. 153:9-154:5.

        RESPONSE: Denied. Plaintiff admitted that he was provided with a bond form when
        he was released, which form listed all nine of the citations issued to Plaintiff, including
        the charges for failure to obey and false declaration. See Watson Dep. 215:7–23, Ex.
        7, attached hereto as Exhibit 6. Additionally, this statement is immaterial to whether
        Defendants are entitled to judgment in their favor as a matter of law.




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         83.       These charges were written on a complaint, rather than a ticket. One complaint

 alleges that Watson “fail[ed] to obey an officer— Watson refused to provide pedigree information

 when asked. Then refused to exit his vehicle when advised he was under arrest.” See Exhibit 11,

 Complaints, at 2.

         RESPONSE: Admitted.

         84.       A second complaint alleges “False statement— Watson gave a false name after

 advising that he did not have his identification on him. He later said his military ID was in the

 vehicle he tried to secure before being taken into custody.” Id.

         RESPONSE: Admitted.

         85.       The section of the complaint listing the ordinance violations for both complaints

 are left blank. Id.

         RESPONSE: Admitted.

         86.       Boyd testified that he did not remember whether or not he asked Mr. Watson to

 remove his keys from his vehicle. Ex. 3, Boyd Dep. 96:7-10.

         RESPONSE: Denied, as this statement fails to provide the full context of Officer
         Boyd’s testimony, in which he stated he would need to review his report. Further,
         Plaintiff admitted that Officer Boyd ordered him to remove his keys from the vehicle.
         See Watson Dep. 108:2-15, attached to Defendants’ SUMF at Ex. 2 (Doc. #187-2). See
         also Watson Dep. 474:5–17, 476:22–477:5, attached hereto as Exhibit 6.

         87.       Ferguson’s City Code 29-21 states: False reports.

         (a)       A person commits the offense of making a false report if he knowingly:

         (1)       Gives false information to a law enforcement officer for the purpose of implicating

 another person in a crime;

         (2)       Makes a false report to a law enforcement officer that a crime has occurred or is

 about to occur;




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        (3)     Makes a false report or causes a false report to be made to a law enforcement

 officer, security officer, fire department or other organization, official or volunteer, which deals

 with emergencies involving danger to life or property that a fire or other incident calling for an

 emergency response has occurred….

        See Ex. 12

        RESPONSE: Defendants object to this statement on the grounds that Exhibit 12 lacks
        proper authentication and, therefore it is inadmissible.

        Subject to and without waiving this objection, denied, as Plaintiff has failed to provide
        a copy of the “false reports” ordinance as it existed at the time of the incident in 2012.
        In addition, this statement is immaterial to the question of whether Defendants are
        entitled to judgment in their favor as a matter of law.


        88.     Watson’s Court Case Report indicates he was charged with 29-21, False Reports.

 See Court Case Report, False Report, Ex. 13.

        RESPONSE: Denied. Neither the referenced exhibit, nor any other document in the
        summary judgment record, supports this statement. Moreover, as admitted by
        Plaintiff in statement 84, supra, Plaintiff was charged with “False statement—
        Watson gave a false name after advising that he did not have his identification on him.
        He later said his military ID was in the vehicle he tried to secure before being taken
        into custody.” Stephanie Karr, the City’s prosecuting attorney, testified that she
        charged Plaintiff with a false declaration, which is different than the charge of “false
        reports.” See Deposition of Stephanie Karr (“Karr Dep.”) 141:18–144:20, attached
        hereto as Exhibit 12. In addition, various court documents, including the City’s
        Municipal Division Filing Memorandum, the memorandum it filed with the St. Louis
        County Circuit Court on July 17, 2013, in conjunction with Plaintiff’s request to
        certify his cases, shows that Plaintiff was charged with “False Declaration” under
        ordinance number 29-16. See Karr Dep. 122:4–18, Ex. 2 at p. 7 (see also page 2, listing
        as one of the charges “False Declaration”), attached hereto as Exhibit 12. Similarly,
        Plaintiff’s own attorneys recognized that Plaintiff was charged with false declaration
        when they filed their Motion to Withdraw Guilty Pleas and Declare Convictions Void
        on his behalf in 2016. See FERG-WAT 75-87, attached hereto as Exhibit 13.

        89.     Ferguson’s Court Case Report for that charge does not state that Watson was

 charged with any other charge. Id.

        RESPONSE: Denied. See Defendants’ response to 88, supra.



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        90.     Mr. Watson initially attempted to get the seven tickets resolved himself, going to

 court with his registration, driver’s license, and insurance, all of which were in the car with him

 on that day. See Ex. 1, Watson Dep. 156:11-24.

        RESPONSE: Denied. The cited document merely states that Plaintiff took his license
        and registration to court and wanted to talk to the judge but was unable to. It does
        not state that he took his insurance, nor does it state that his license, registration, and
        insurance were all in the car with him. In addition, this statement is immaterial to
        the question of whether Defendants are entitled to judgment in their favor as a matter
        of law.

        91.     Despite this, his tickets were not dismissed. See Ex. 1, Watson Dep. 156:11-22.

        RESPONSE: Denied. The cited document merely states that Plaintiff took his license
        and registration to court and wanted to talk to the judge but was unable to. In
        addition, this statement is immaterial to the question of whether Defendants are
        entitled to judgment in their favor as a matter of law. Further answering, see
        Defendants’ response to 93, infra.

        92.     Mr. Watson’s Court Case Report for ticket 111787147 shows that he was charged

 with 44.387.A. See Court Case Report, Ex. 13.

        RESPONSE: Defendants object on the grounds that the referenced exhibit does not
        support this statement.

        Subject to and without waiving this objection, Defendants admit that the Court Case
        Report for ticket 111787147 reflects that Plaintiff was charged with violating
        44.387.A.

        93.     Ferguson later dismissed all charges against Mr. Watson nolle prosequi. See Ex.

 15.

        RESPONSE: Defendants admit that the prosecuting attorney dismissed the charges
        against Plaintiff in accordance with the terms of the Consent Decree entered by the
        City of Ferguson. The prosecutor did not dismiss the charges because he believed they
        lacked merit. See Deposition of Lee Clayton Goodman (“Goodman Dep.”) 22:8–25:9,
        29:22–31:19, 33:5–37:25, 56:11–57:19, attached hereto as Exhibit 14. In addition, this
        statement is immaterial to the question of whether Defendants are entitled to
        judgment in their favor as a matter of law.

        Mr. Watson’s Employment Problems Due to Ferguson



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        94.     Mr. Watson held Sensitive Compartmented Information (“SCI”) status from the

 federal government, the highest level of security clearance. See Tracy Thornton Deposition

 (“Thornton Dep.”) 10:22-11:4, attached as Exhibit 16.

        RESPONSE: Admit. However, this statement is immaterial to the question of
        whether Defendants are entitled to judgment in their favor as a matter of law.

        95.     In 2014, Mr. Watson was due for a periodic reinvestigation of his SCI clearance.

 See Ex. 16, Thornton Dep. 11:12-20.

        RESPONSE: Admit. However, this statement is immaterial to the question of
        whether Defendants are entitled to judgment in their favor as a matter of law.

        96.     Mr. Watson was found to be completely eligible for a renewed clearance, except

 for the stipulation that he needed to provide proof of resolution of his tickets from Ferguson. See

 Ex. 16, Thornton Dep. 14: 11-18.

        RESPONSE: Admit. However, this statement is immaterial to the question of
        whether Defendants are entitled to judgment in their favor as a matter of law.

        97.     On July 23, 2014, Mr. Watson was granted conditional clearance. See Ex. 16,

 Thornton Dep. 55:9-55:18.

        RESPONSE: Admit. However, this statement is immaterial to the question of
        whether Defendants are entitled to judgment in their favor as a matter of law.

        98.     Mr. Watson would have been granted full SCI clearance if he had been able to

 resolve his Ferguson tickets. See Ex. 16, Thornton Dep. 55:9-13.

        RESPONSE: Denied. The statement supports a conclusion that Plaintiff would have
        been granted full SCI clearance if he provided proof of resolution of his Ferguson
        tickets. Further, this statement is immaterial to the question of whether Defendants
        are entitled to judgment in their favor as a matter of law.

        99.     Mr. Watson was never told by NGA or NJVC staff that his eligibility would not be

 revoked if he pleaded to the charges. See Ex. 16, Thornton Dep. 57:12-18; Ex. 4, Declaration of

 Fred Watson at ¶ 5.



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        RESPONSE: Denied. The NGA representative testified that the letter “does not state
        that if he plead guilty it would be revoked.” Further, Ms. Thornton testified that
        correspondence from the NGA to Plaintiff indicated that “if a charge is upheld . . .
        that would mean he’s guilty of that charge, and so if he just provided receipt of the
        payment or, you know, whatever the court requirement was for that, then the terms
        of the conditional would have been met.” See Thornton Dep. 57:5–18, attached hereto
        as Exhibit 15. Further, this statement is immaterial to the question of whether
        Defendants are entitled to judgment in their favor as a matter of law.

        100.   Because of his conditional status, Mr. Watson had to regularly check in with NGA

 security staff to update them on any resolution of his charges. See Ex. 16, Thornton Dep. 14:11-

 18.

        RESPONSE: Denied on the grounds that the referenced evidence does not support
        this statement. Further, this statement is immaterial to the question of whether
        Defendants are entitled to judgment in their favor as a matter of law.

        101.   Mr. Watson described this time as stressful and frustrating, and he was eventually

 fired by NJVC. See Ex. 1, Watson Dep. 263:24-264:10; 328:3-4.

        RESPONSE: Denied. Plaintiff testified that his frustration was “with my security
        personnel about how I’m being bounced between all these different places,” leading
        him to make the statement that led to the suspension of his security clearance. The
        NGA unequivocally testified that Plaintiff’s security clearance was suspended solely
        because he made the following statement to an NGA personnel security officer:
        “What if I went out there and started telling the Government’s secrets on my time?
        Do you think they would go to court with me then.” See Thornton Dep. 15:10–17:13;
        58:23–59:13, attached hereto as Exhibit 15. Because the security officer and the Chief
        of NGA’s Adjudication Branch understood Watson’s statement to be a serious threat
        to national security, the NGA suspended his security clearances. See Thornton Dep.
        15:13–17:13; 32:3–21; 58:23–59:13, attached hereto as Exhibit 15. Because his
        security clearances were suspended, NJVC terminated Watson’s employment. See
        Patrick O’Neil Deposition Transcript at 37:14–23, attached hereto as Exhibit 16.
        Further, this statement is immaterial to the question of whether Defendants are
        entitled to judgment in their favor as a matter of law.




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        RESPONSE: Defendants object on the grounds that this statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s claim for failure to screen, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because his claimed
        rights were not clearly established.

        Subject to and without waiving their foregoing objections, Defendants admit the
        statement.

        129.    If the application would have asked about prior lawsuits, Boyd would have

 answered honestly that he had been involved in a lawsuit concerning his assault of a juvenile. See

 Ex. 3, Boyd Dep. 301:20-302:9.

        RESPONSE: Defendants object on the grounds that this statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s claim for failure to screen, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because his claimed
        rights were not clearly established.

        Subject to and without waiving their foregoing objections, Defendants admit the
        statement.

        130.    The Ferguson Police Department’s background investigation of Defendant Boyd

 did not inquire into any of Boyd’s previous disciplinary history at either St. Ann or St. Louis City.

 See Ex. 27, Boyd Background.

        RESPONSE: Defendants object on the grounds that this statement is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s claim for failure to screen, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established. Defendants further object to this
        statement on the grounds that Exhibit 27 lacks authentication and, therefore, is
        inadmissible.

        Subject to and without waiving their objection, Defendants deny this statement, as it
        is not supported by the document.



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         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         225.       According to a sworn declaration of Walter Rice, Boyd was going to write him a

 ticket for this. See id.at ¶ 9.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         226.       When Mr. Rice’s wife expressed surprise that her husband was getting ticketed for

 the incident, Boyd said to Mr. Rice, “Since she decided to run her mouth, you’re going to jail.”

 See id. at ¶ 11.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.



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         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         227.    Boyd then arrested Mr. Rice, tightening the handcuffs very tight. See id.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. S See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         228.    Mr. Rice’s wife and children were in the car following the two to Ferguson’s jail.

 See id.. at ¶ 14.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible



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         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         229.       As Mrs. Rice and her children were following in the car behind Boyd, Boyd said,

 “she didn’t use her turn signal. She’s going to jail too.” See id. at ¶ 14.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         230.       Boyd then threatened to take the family’s children away and call the authorities.

 See id. at ¶ 16.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         231.       When the couple were released from jail, the video of Boyd that had been on Mrs.



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 Rice’s phone had been erased. See id. at ¶ 25.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 66 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         232.    In 2014, Boyd detained Robert Mentzel and his sister in their pickup truck. See

 Declaration of Mentzel (“Mentzel Dec.”) at ¶ 3, attached as Exhibit 67.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As
         set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
         Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
         Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
         (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
         deemed stricken or disregarded by the Court in its consideration of the instant Motion
         for Summary Judgment.

         Defendants further object on the grounds that the Declarant in Exhibit 67 was not
         disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
         be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
         Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
         Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
         because the declarant lacks personal knowledge, relies upon hearsay, and is
         speculative.

         233.    Even though Mentzel was not driving, Boyd ordered Mentzel to provide his driver’s

 license. See id. at ¶ 4.

         RESPONSE: Defendants object to this statement on the grounds that it is immaterial
         to whether Defendants are entitled to judgment in their favor as a matter of law. As



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        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants further object on the grounds that the Declarant in Exhibit 67 was not
        disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
        be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
        Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
        Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
        because the declarant lacks personal knowledge, relies upon hearsay, and is
        speculative.

        234.    Mentzel was attempting to record the incident on his phone. Boyd told Mentzel to

 put the phone on the dashboard. See id. at ¶ 6.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants further object on the grounds that the Declarant in Exhibit 67 was not
        disclosed by Plaintiff and, therefore, neither his testimony, nor his Declaration, can
        be proffered by Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory
        Responses, Nos. 1 and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial
        Disclosures, attached hereto as Exhibit 18. The Declaration is further inadmissible
        because the declarant lacks personal knowledge, relies upon hearsay, and is
        speculative.

        235.    Boyd then arrested Mentzel for failure to comply for not following his orders

 quickly enough. See id.. at ¶ 9.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be



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        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants object on the grounds that the Declarant was not disclosed by Plaintiff
        and, therefore, neither his testimony, nor his Declaration, can be proffered by
        Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory Responses, Nos. 1
        and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial Disclosures,
        attached hereto as Exhibit 18. The Declaration is further inadmissible because the
        declarant lacks personal knowledge, relies upon hearsay, and is speculative.

        253.    When Mr. Gardner did not immediately get out of the car, Boyd threatened to shoot

 the windows out of the car. See id. at ¶ 6.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants object on the grounds that the Declarant was not disclosed by Plaintiff
        and, therefore, neither his testimony, nor his Declaration, can be proffered by
        Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory Responses, Nos. 1
        and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial Disclosures,
        attached hereto as Exhibit 18. The Declaration is further inadmissible because the
        declarant lacks personal knowledge, relies upon hearsay, and is speculative.

        254.    When Mr. Gardner got out of the car, Boyd arrested him, alleging that Gardner had

 spit in Boyd’s face, which Mr. Gardner denied. See id. at ¶ 9.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.



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        Defendants object on the grounds that the Declarant was not disclosed by Plaintiff
        and, therefore, neither his testimony, nor his Declaration, can be proffered by
        Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory Responses, Nos. 1
        and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial Disclosures,
        attached hereto as Exhibit 18. The Declaration is further inadmissible because the
        declarant lacks personal knowledge, relies upon hearsay, and is speculative.

        255.    When Boyd arrested Mr. Gardner, he jerked the handcuffs and pushed Gardner

 against his vehicle. See id. ¶ 10.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants object on the grounds that the Declarant was not disclosed by Plaintiff
        and, therefore, neither his testimony, nor his Declaration, can be proffered by
        Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory Responses, Nos. 1
        and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial Disclosures,
        attached hereto as Exhibit 18. The Declaration is further inadmissible because the
        declarant lacks personal knowledge, relies upon hearsay, and is speculative.

        256.    When Gardner went to court on this ticket, he told the judge about the charge Boyd

 had issued. The judge dismissed the ticket. See id. at ¶ 12.

        RESPONSE: Defendants object to this statement on the grounds that it is immaterial
        to whether Defendants are entitled to judgment in their favor as a matter of law. As
        set forth in the Court’s Memorandum and Order, as it relates to Defendants’ original
        Motion to Strike (Doc. #140), the Court held that allegations of misconduct by Officer
        Boyd after August 2012 “are irrelevant to Watson’s allegations and shall be stricken.”
        (Doc. #158 at p. 7). Pursuant to the law of the case, this statement should either be
        deemed stricken or disregarded by the Court in its consideration of the instant Motion
        for Summary Judgment.

        Defendants object on the grounds that the Declarant was not disclosed by Plaintiff
        and, therefore, neither his testimony, nor his Declaration, can be proffered by
        Plaintiff in this case. See Plaintiff’s Supplemental Interrogatory Responses, Nos. 1
        and 2, attached hereto as Exhibit 17; Plaintiff’s Rule 26(a)(1) Initial Disclosures,




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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        297.    The DOJ completed its investigation with a report entitled “Investigation of the

 Ferguson Police Department” See id.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        298.    The DOJ Report “revealed a pattern or practice of unlawful conduct within the

 Ferguson Police Department that violates the First, Fourth, and Fourteenth Amendments to the

 United States Constitution.” Id. at 1.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its



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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        299.    The DOJ Report found that “the Ferguson Police Department Engages in a Pattern

 of Unconstitutional Stops and Arrests in Violation of the Fourth Amendment.” Id. at 16.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        300.    The DOJ Report found that “African Americans are more than twice as likely as

 white drivers to be searched during vehicle stops even after controlling for non-race based

 variables such as the reason the vehicle stop was initiated, but are found in possession of

 contraband 26% less often than white drivers, suggesting officers are impermissibly considering

 race as a factor when determining whether to search. Id. at 4.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement




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        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        301.    The DOJ Report found that “Many of the unlawful stops we found appear to have

 been driven, in part, by an officer’s desire to check whether the subject had a municipal arrest

 warrant pending. Several incidents suggest that officers are more concerned with issuing citations

 and generating charges than with addressing community needs.” Id. at 17.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        302.    The DOJ Report found that “In reviewing FPD records, we found numerous

 incidents in which—based on the officer’s own description of the detention—an officer detained

 an individual without articulable reasonable suspicion of criminal activity or arrested a person

 without probable cause.” Id. at 17.




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         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
         indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
         biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
         conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
         should therefore either be deemed stricken or disregarded by the Court in its
         consideration of the instant Motion for Summary Judgment.

         Defendants further object to this statement on the grounds that it is immaterial to
         whether Defendants are entitled to judgment in their favor as a matter of law. In its
         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         303.    The DOJ Report found that “FPD routinely makes arrests without probable cause.

 Frequently, officers arrest people for conduct that plainly does not meet the elements of the cited

 offense.” Id. at 18.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
         indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
         biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
         conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
         should therefore either be deemed stricken or disregarded by the Court in its
         consideration of the instant Motion for Summary Judgment.

         Defendants further object to this statement on the grounds that it is immaterial to
         whether Defendants are entitled to judgment in their favor as a matter of law. In its
         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         304.    The DOJ Report found that “FPD Officers Routinely Abuse the ‘Failure to Comply’

 Charge.” Id. at 19.




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        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        305.    The DOJ Report found that “Officers rely heavily on [failure to comply] to arrest

 individuals who do not do what they ask, even when refusal is not a crime.” Id. at 19.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        306.    The DOJ Report found that “Many cases initiated under [the ‘Failure to Comply’]

 provisions begin with an officer ordering an individual to stop despite lacking objective indicia

 that the individual is engaged in wrongdoing. The order to stop is not a lawful order under those




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 circumstances because the officer lacks reasonable suspicion that criminal activity is

 afoot...Nonetheless when individuals do not stop in those situations, FPD officers treat that conduct

 as a failure to comply with a lawful order, and make arrests.” Id. at 19.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        307.    The DOJ Report found that “In an...incident from December 2011, police officers

 approached two people sitting in a car on a public street and asked the driver for identification.

 When the driver balked, insisting that he was on a public street and should not have to answer

 questions, the officers ordered him out of the car and ultimately charged him with Failure to

 Comply.” Id. at 21.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its



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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        308.    The DOJ Report found that “FPD supervisors are more concerned with the number

 of citations and arrests officers produce than whether those citations and arrests are lawful or

 promote public safety.” Id. at 22.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        309.    The DOJ Report found that “Between July 1, 2010, and June 30, 2014, the City of

 Ferguson issued approximately 90,000 citations and summonses for municipal violations. Notably,

 the City issued nearly 50% more citations in the last year of that time period than it did in the first.

 This increase in enforcement has not been driven by a rise in serious crime. While the ticketing

 rate has increased dramatically, the number of charges for many of the most serious offenses

 covered by the municipal code—e.g., Assault, Driving While Intoxicated, and Stealing—has

 remained relatively constant.” Id. at 7.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to



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         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
         indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
         biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
         conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
         should therefore either be deemed stricken or disregarded by the Court in its
         consideration of the instant Motion for Summary Judgment.

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         whether Defendants are entitled to judgment in their favor as a matter of law. In its
         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         310.    The DOJ Report found that “When another commander tried to discipline an officer

 for over-ticketing, he got the same response from the Chief of Police: ‘No discipline for doing

 your job.’” Id. at 12.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
         indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
         biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
         conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
         should therefore either be deemed stricken or disregarded by the Court in its
         consideration of the instant Motion for Summary Judgment.

         Defendants further object to this statement on the grounds that it is immaterial to
         whether Defendants are entitled to judgment in their favor as a matter of law. In its
         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         311.    The DOJ Report found that “FPD Engages in a Pattern of First Amendment

 Violations.” Id. at 24.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to



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        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        312.    The DOJ Report found that “In Ferguson, officers frequently make enforcement

 decisions based on what subjects say, or how they say it. Just as officers reflexively resort to arrest

 immediately upon noncompliance with their orders, whether lawful or not, they are quick to

 overreact to challenges and verbal slights.” Id. at 25.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
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        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        313.    Much of the unconstitutional conduct was contained in reports that Ferguson

 supervisors routinely approved. The DOJ Report found that “These accounts are drawn entirely




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 from officers’ own descriptions, recorded in offense reports. That FPD officers believe criticism

 and insolence are grounds for arrest, and that supervisors have condoned such unconstitutional

 policing, reflects intolerance for even lawful opposition to the exercise of police authority.” Id. at

 26.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
         indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
         biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
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         Defendants further object to this statement on the grounds that it is immaterial to
         whether Defendants are entitled to judgment in their favor as a matter of law. In its
         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         314.    The DOJ Report found that “[FPD officers] act as if every offender has a gun,

 justifying their decisions based on what might be possible rather than what the facts indicate is

 likely.” Id. at 33.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
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        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        315.    The DOJ Report found that “[I]n June 2011, officers arrested a man at gunpoint

 because the car he was driving had an active wanted.” Id. at 23.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
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        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        316.    The DOJ Report found that “An officer placed his gun on a wall or post and pointed

 it back and forth to each of two store employees as he talked to them while they took the trash out

 late one night. In another case..., a person reported that an FPD officer removed his ECW during

 a traffic stop and continuously tapped the ECW on the roof of the person’s car.” Id. at 80.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
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        conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
        should therefore either be deemed stricken or disregarded by the Court in its
        consideration of the instant Motion for Summary Judgment.

        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its



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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        317.    The DOJ Report found that “Ferguson’s internal affairs system fails to respond

 meaningfully to complaints of officer misconduct. It does not serve as a mechanism to restore

 community members’ trust in law enforcement, or correct officer behavior. Instead, it serves to

 contrast FPD’s tolerance for officer misconduct against the Department’s aggressive enforcement

 of even minor municipal infractions, lending credence to a sentiment that we heard often from

 Ferguson residents: that a “different set of rules” applies to Ferguson’s police than to its African-

 American residents, and that making a complaint about officer misconduct is futile.” Id. at 82.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
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        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        318.    The DOJ Report found that “Ferguson Police Department makes it difficult to make

 complaints about officer conduct, and frequently assumes that the officer is telling the truth and

 the complainant is not, even where objective evidence indicates that the reverse is true.” Id. at 82.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to



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        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
        biased preparer,” “contains inadmissible hearsay,” and “contains inadmissible legal
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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        319.   The DOJ Report found that “It is difficult for individuals to make a misconduct

 complaint against an officer in Ferguson, in part because Ferguson both discourages individuals

 from making complaints and discourages City and police staff from accepting them.” Id. at 82.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
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        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        320.   The DOJ Report found that “While official FPD policy states clearly that officers

 must “never attempt to dissuade any citizen from lodging a complaint,” FPD General Order 301.3,

 a contrary leadership message speaks louder than policy. This message is reflected in statements




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 by officers that indicate a need to justify their actions when they do accept a civilian complaint.”

 Id. at 83.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
         consideration as part of the summary judgment briefing because it “lacks a proper
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         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         321.   The DOJ Report found that “We saw many instances in which people complained

 of being prevented from making a complaint, with no indication that FPD investigated those

 allegations. In one instance, for example, a man alleging significant excessive force reported the

 incident to a commander after being released from jail, stating that he was unable to make his

 complaint earlier because several different officers refused to let him speak to a sergeant to make

 a complaint about the incident and threatened to keep him in jail longer if he did not stop asking

 to make a complaint.” Id. at 83.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
         Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
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         consideration of the instant Motion for Summary Judgment.




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        Defendants further object to this statement on the grounds that it is immaterial to
        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        322.    The DOJ Report found that “Some individuals also fear that they will suffer

 retaliation from officers if they report misconduct or even merely speak out as witnesses when

 approached by someone from FPD investigating a misconduct complaint.” Id. at 83.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
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        whether Defendants are entitled to judgment in their favor as a matter of law. In its
        new Motion for Summary Judgment (Doc. #185), City did not move for summary
        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        323.    The DOJ Report found that “Even when individuals do report misconduct, there is

 a significant likelihood it will not be treated as a complaint and investigated.” Id. at 83.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
        indicium of reliability,” “was clearly prepared in anticipation of litigation and by a
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          Defendants further object to this statement on the grounds that it is immaterial to
          whether Defendants are entitled to judgment in their favor as a matter of law. In its
          new Motion for Summary Judgment (Doc. #185), City did not move for summary
          judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
          Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
          underlying constitutional violation or deliberate indifference because Plaintiff’s
          claimed rights were not clearly established.

          324.   The DOJ Report found that “FPD officers and commanders also often seek to frame

 complaints as being entirely related to complainants’ guilt or innocence, and therefore not subject

 to a misconduct investigation, even though the complaint clearly alleges officer misconduct.” Id.

 at 84.

          RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
          the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
          Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
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          judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
          Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
          underlying constitutional violation or deliberate indifference because Plaintiff’s
          claimed rights were not clearly established.

          325.   The DOJ Report found that “FPD appears to intentionally not treat allegations of

 misconduct as complaints even where it believes that the officer in fact committed the

 misconduct.” Id. at 84.

          RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
          the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
          Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
          consideration as part of the summary judgment briefing because it “lacks a proper
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         conclusions.” (Doc. #158 at p. 12). Pursuant to the law of the case, this statement
         should therefore either be deemed stricken or disregarded by the Court in its
         consideration of the instant Motion for Summary Judgment.

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         new Motion for Summary Judgment (Doc. #185), City did not move for summary
         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         326.    The DOJ Report found that “Even where a complaint is actually investigated, unless

 the complaint is made by an FPD commander, and sometimes not even then, FPD consistently

 takes the word of the officer over the word of the complainant, frequently even where the officer’s

 version of events is clearly at odds with the objective evidence.” Id at 85.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
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         judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
         Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
         underlying constitutional violation or deliberate indifference because Plaintiff’s
         claimed rights were not clearly established.

         327.    The DOJ Report found that “On the rare occasion that FPD does sustain an external

 complaint of officer misconduct, the discipline it imposes is generally too low to be an effective

 deterrent.” Id. at 85.

         RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
         the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to



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        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
        consideration as part of the summary judgment briefing because it “lacks a proper
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        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        328.    The DOJ Report found that “In FPD, untruthfulness appears not even to always

 result in a formal investigation, and even where sustained, has little effect.” Id. at 85.

        RESPONSE: Defendants object to Plaintiffs’ use of the DOJ Report. As set forth in
        the Court’s Memorandum and Order, as it relates to Defendants’ original Motion to
        Strike (Doc. #140), the Court ordered that the DOJ Report be stricken from
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        judgment on Plaintiff’s individual Monell claims, instead seeking judgment on
        Plaintiff’s Monell claim on the grounds that Plaintiff failed to establish either an
        underlying constitutional violation or deliberate indifference because Plaintiff’s
        claimed rights were not clearly established.

        329.    The DOJ Report found that “By failing to hold officers accountable, FPD leadership

 sends a message that FPD officers can behave as they like, regardless of law or policy, and even

 if caught, that punishment will be light. This message serves to condone officer misconduct and

 fuel community distrust.” Id. at 86.




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                                              Respectfully submitted,

                                              LEWIS RICE LLC

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                                              Attorney for Defendant Eddie Boyd, III



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 16th day of February, 2022, a true copy hereof
 was electronically filed with the Clerk of the Court using the CM/ECF system, to be served by
 operation of the Court’s electronic filing system on all counsel of record.


                                                  /s/ Ronald A. Norwood




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